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                                          January 31, 2025

 VIA CM/ECF
 The Honorable James Wesley Hendrix
 United States District Court for the
 Northern District of Texas
 George H. Mahon Federal Building
 1205 Texas Avenue, Room 209
 Lubbock, TX 79401-4091

         Re: Texas v. Department of Health and Human Services et al., 5:24-cv-00204-H (N.D.
         Tex.)

 Dear Judge Hendrix:

        Proposed Intervenor-Defendants, the City of Columbus, Ohio, the City of Madison,
 Wisconsin, and Doctors for America, write in response to Defendants’ Consent Motion to hold all
 deadlines in abeyance filed yesterday, January 30, 2025. Dkt. No. 39. Should the Court grant this
 Motion, Proposed Intervenor-Defendants respectfully request that the parties be required to
 provide notice to the Court if, during the abeyance period, they determine that resolution is
 warranted. Proposed Intervenor-Defendants additionally request that if the parties make such a
 determination, they also be required to respond to the intervention motion shortly thereafter.

         Proposed Intervenor-Defendants moved to intervene in part because they believe that the
 new administration will likely change positions in such a way that may lead to a settlement or other
 resolution that would impair Proposed Intervenor-Defendants’ interests. Proposed Intervenor-
 Defendants believe that their suggested amendment to Defendants’ Motion would allow
 Defendants to evaluate their position in the case without hindering Proposed Intervenor-
 Defendants’ ability to protect their interests in this litigation.


                                               Respectfully submitted,

                                               /s/ Jennifer R. Ecklund
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                                                   -and-

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 cc:     All counsel of record (by CM/ECF)
